Case 1:18-cv-00021-JMS-WRP Document 63 Filed 06/19/19 Page 1 of 8   PageID #: 382



                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

  Quintin-John D’Agirbaud,           )    CV 18-00021 JMS-WRP
  III,                               )
                                     )    SECOND AMENDED RULE 16
                      Plaintiff,     )    SCHEDULING ORDER (PRISONER PRO
                                     )    SE; NO DISCLOSURE)
              vs.                    )
                                     )
  Sarah Alanzo, et al.               )
                                     )
                 Defendants.         )
  ____________________________       )

                    SECOND AMENDED RULE 16 SCHEDULING ORDER
                        (PRISONER PRO SE; NO DISCLOSURE)

        The Court enters this second amended scheduling order to

  reflect the trial date and other deadlines.

        The Parties are NOTIFIED that all pretrial proceedings will

  be conducted by telecommunications technologies to allow

  Plaintiff to remain in the penal institution.         See 42 U.S.C.

  § 1997e(f).    At the Court’s discretion, hearings may be conducted

  in the institution, subject to institution officials’ agreement.

  Id.   When practicable, counsel shall be allowed to participate by

  telecommunications technology when any pretrial proceeding is

  held in the prison.

  TRIAL AND CONFERENCE SCHEDULING:

        1. Jury trial in this matter will commence before the

  Honorable J. Michael Seabright, United States District Judge on

  12/10/2019, at 9:00 a.m.

        2.   A final pre-trial conference shall be held on 11/4/2019,

  at 10:00 a.m. before the Honorable Wes Reber Porter, United
Case 1:18-cv-00021-JMS-WRP Document 63 Filed 06/19/19 Page 2 of 8   PageID #: 383



  States Magistrate Judge.

        3.   N/A

        4.   Pursuant to LR16.6, each party herein shall serve and

  file a separate pre-trial statement by 10/28/2019.

  MOTIONS:

        5.   All motions to join additional parties or to amend the

  pleadings shall be filed by 1/29/2019 (closed).

        6.   Defendants shall file motions raising the issue of

  failure to exhaust prison administrative remedies on or before

  10/05/2019 (closed).     LR 99.16.2(c). Defendant may raise the

  issue of exhaustion in either (1) a motion to dismiss pursuant to

  Rule 12(b)(6), if the failure to exhaust is clear on the face of

  the complaint, or (2) a motion for summary judgment.          Albino v.

  Baca, 747 F.3d 1162, 1168-69 (9th Cir. 2014).

        7.    Motions in limine shall be filed by 11/19/2019.

  Opposition memoranda to a motion in limine shall be filed by

  11/26/2019.

        8.   All motions not otherwise provided for herein shall be

  filed by 8/13/2019.

        9.   The parties are notified that they must comply with

  LR7.5. when filing motions.      To prevent circumvention of the

  local rules, the parties should attempt to consolidate all issues

  into a single motion to dismiss under Fed. R. Civ. P. 12 and a

  single motion for summary judgment under Fed. R. Civ. P. 56,


                                       2
Case 1:18-cv-00021-JMS-WRP Document 63 Filed 06/19/19 Page 3 of 8   PageID #: 384



  excepting motions raising failure to exhaust prison

  administrative remedies, which may be filed separately to comply

  with the deadlines set forth in this Order.

        10.   Plaintiff is NOTIFIED that he has the opportunity to

  develop a record in response to any motion to dismiss for lack of

  exhaustion or motion for summary judgment.         A copy of the Court’s

  Notice to Pro Se Prisoners, detailing the requirements for

  opposing a motion to dismiss for lack of exhaustion or a motion

  for summary judgment is attached to this scheduling order.

        11.   Defendants are NOTIFIED that when they file a motion to

  dismiss for failure to exhaust or any motion for summary judgment

  they SHALL contemporaneously file a separate notice to the

  prisoner advising him or her of the requirements for opposing

  such motions.    See LR99.56.2

        12.   Motions deadlines will be strictly enforced.          After the

  deadline has passed, the parties may not file such motions except

  with leave of court, with good cause shown.

  DISCOVERY:

        13.   The Court elects not to apply the initial disclosure

  requirements of Fed. R. Civ. P. 26(a)(1) to this matter.

        14.   Each party shall serve and file a disclosure of all

  non-expert witnesses reasonably expected to be called at trial

  according to the following schedule:

              a.   Plaintiff shall comply by 11/27/2018 (closed).


                                       3
Case 1:18-cv-00021-JMS-WRP Document 63 Filed 06/19/19 Page 4 of 8   PageID #: 385



              b.    Defendants shall comply by 12/04/2018 (closed).

        15.   The disclosure of non-expert witnesses shall include

  the full name, address, and telephone number of each witness, and

  a short summary of anticipated testimony.         If certain required

  information is not available, the disclosure shall so state.

  Each party shall be responsible for updating its disclosures as

  such information becomes available.        The duty to update such

  disclosure shall continue up to and including the date that trial

  herein actually terminates.

        16.   Pursuant to Fed. R. Civ. P. 26(a)(2), each party shall

  disclose to each other party the identity and written report of

  any person who may be used at trial to present expert evidence

  under Rules 702, 703, or 705 of the Federal Rules of Evidence,

  according to the following schedule:

              a.   Plaintiff shall comply by 8/13/2019.

              b.   Defendants shall comply by 9/10/2019.

        17.   Pursuant to Fed. R. Civ. P. 16(b)(3) and LR16.2(a)(6),

  the discovery deadline shall be 10/8/2019.         Unless otherwise

  permitted by the Court, all discovery pursuant to Fed. R. Civ. P.

  26-37 inclusive must be completed by the discovery deadline.

  Unless otherwise permitted by the Court, all discovery motions

  and conferences made or requested pursuant to Fed. R. Civ. P. 26-

  37 inclusive and LR26.1, 26.2, and 37.1 shall be heard by the

  discovery deadline.     While Fed. R. Civ. P. 29 allows the parties


                                       4
Case 1:18-cv-00021-JMS-WRP Document 63 Filed 06/19/19 Page 5 of 8   PageID #: 386



  to extend certain discovery deadlines by agreement, such

  stipulations do not, without prior court order, extend the

  Court’s obligation to adjudicate discovery disputes.

  SETTLEMENT:

        18. The parties shall be ON CALL for a settlement conference

  before the Honorable Wes Reber Porter, United States Magistrate

  Judge.

        19.    If a settlement conference is scheduled, each

  party shall deliver to the presiding Magistrate Judge a

  confidential settlement conference statement five (5) days before

  a settlement conference.      The parties are directed to LR16.5(b)

  for the requirements of the confidential settlement conference

  statement.

        Unless otherwise ordered by the Court prior to the date of

  the settlement conference, each party or the party’s

  representative having full authority to negotiate and settle the

  case on terms proposed by the opposing party shall appear at the

  settlement conference, either in person, or for pro se prisoners,

  by telephone.    Counsel may appear as a party’s representative

  provided counsel produces for the Court full written authority

  from the party to negotiate and settle the case on terms proposed

  by the opposing party without further consultations with the

  party.

        Parties are reminded that failure to comply with


                                       5
Case 1:18-cv-00021-JMS-WRP Document 63 Filed 06/19/19 Page 6 of 8   PageID #: 387



  LR16.5(b)(1) and (2) may result in sanctions imposed under

  LR16.5(3).

  OTHER MATTERS:

        20.    This order shall continue in effect unless and until

  amended by subsequent order of the Court.

        21.    FURTHER PROVISIONS: None.

        IT IS SO ORDERED.

        DATED, HONOLULU, HAWAII, JUNE 19, 2019.




                             /s/ Wes Reber Porter
                            Wes Reber Porter
                            United States Magistrate Judge




                                         6
Case 1:18-cv-00021-JMS-WRP Document 63 Filed 06/19/19 Page 7 of 8   PageID #: 388



                        NOTICE TO PRO SE LITIGANTS

       Defendants may move to dismiss your case for lack of
  exhaustion under Rule 12(b) or Rule 56 of the Federal Rules of
  Civil Procedure. Defendants may also move for summary judgment
  on other dispositive issues pursuant to Rule 56. Defendants
  and/or the court must provide this notice to a pro se prisoner at
  the same time that Defendants make such motions. See Woods v.
  Carey, 684 F.3d 934, 936 (9th Cir. 2012). Plaintiff is notified
  of his/her opportunity to develop a record in response to either
  closely analogous procedure. See Wyatt v. Terhune, 315 F.3d
  1108, 1120 n.14 (9th Cir. 2003); Rand v. Rowland, 154 F.3d 952,
  960 (9th Cir. 1998) (en banc).

       Rule 56 tells you what you must do in order to oppose a
  motion such motions. Generally, summary judgment must be granted
  when there is no genuine issue of material fact - that is, if
  there is no real dispute about any fact that would affect the
  result of your case, the party who asked for summary judgment is
  entitled to judgment as a matter of law.

       When a party you are suing makes a motion for summary
  judgment that is properly supported by declarations (or other
  sworn testimony), you cannot simply rely on what your complaint
  says. You must set forth specific facts in declarations,
  depositions, answers to interrogatories, or authenticated
  documents, as provided in Rule 56(e), contradicting the facts
  shown in the defendants declarations and documents and showing
  that there is a genuine issue of material fact for trial. If you
  do not submit your own evidence in opposition, summary judgment,
  if appropriate, may be entered against you. If summary judgment
  is granted, your case will be dismissed and there will be no
  trial.

       All parties, pro se or not, must comply with the Local Rules
  for the District of Hawaii. Local Rule LR56.1 sets out the local
  requirements for summary judgment motions and oppositions to such
  motions. To oppose a motion, you must file a concise statement
  that accepts the facts set forth in the moving parties= concise
  statement, or sets forth all material facts to which it is
  contended there exists a genuine issue necessary to be litigated.
  When preparing the separate concise statement, you must reference
  only the material facts that are absolutely necessary for the
  court to determine the limited issues presented in the motion for
  summary judgment (and no others), and each reference shall
  contain a citation to a particular affidavit, deposition, or
  other document that supports your interpretation of the material
  fact. Documents referenced in the concise statement shall not be

                                       7
Case 1:18-cv-00021-JMS-WRP Document 63 Filed 06/19/19 Page 8 of 8   PageID #: 389



  filed in their entirety. Instead, you shall extract and highlight
  only the relevant portions of each referenced document.
  Photocopies of extracted pages, with appropriate identification
  and highlighting will be adequate. The concise statement shall be
  no longer than five (5) pages.

        When resolving motions for summary judgment, the court has
  no independent duty to search and consider any part of the court
  record not otherwise referenced in the separate concise
  statement. If necessary, you may request further guidance from
  the court regarding the requirements of Fed. R. Civ. P. 56 and LR
  56.1.




                                       8
